Case 2:18-cr-20554-PDB-APP ECF No. 24 filed 05/17/19         PageID.72   Page 1 of 9



                      UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF MICHIGAN

UNITED STATES OF AMERICA,                       Case No. 2:18-cr-20554-PDB-APP
             Plaintiff,                         Hon. District Judge Paul D. Borman
    -v-

JACKIE DOUGLAS WOODBURN
               Defendant(s).
__________________________________________/

                  MOTION TO AMEND SCHEDULING ORDER

      NOW COMES Defendant, JACKIE DOUGLAS WOODBURN, by and

through his attorney, GERRY MASON, and in support of his motion now states,

      1.     That at the March 4, 2019 status conference Defense counsel

requested time to obtain a private evaluation of Defendant as to criminal

responsibility.

      2.     That a waiver of the right to Speedy Trial was placed on the record.

      3.     That an Order Determining Excludable Delay was entered March 6,

2019 and contains the following deadlines:

             Defense expert report due and
             all discovery to be reviewed by:         May 3, 2019

             Motion deadline:                         May 17, 2019

             Plea cutoff deadline:                    May 28, 2019

             Pretrial conference/Plea hearing:        May 28, 2019 at 10:30 am

             Jury trial:                              June 18, 2019 at 10:00 am


                                     Page 1 of 3
Case 2:18-cr-20554-PDB-APP ECF No. 24 filed 05/17/19         PageID.73    Page 2 of 9



       4.      That a Stipulation and Order to Allow Dr. Steven Miller and Carl

Hagstrom, LMSW Access to Defendant for Purposes of Evaluation entered April

17, 2019.

       5.      That a Stipulated Order to Allow Additional Time for Completion of

Expert Reports entered May 10, 2019.

       6.      That the Defense expert report is now due on or before June 14, 2019.

       7.      That Defense counsel contacted Assistant U.S. Attorney’s April

Nicole Russo and Kevin Mulcahy and obtained their concurrence with extending

the expert report deadline but they have not concurred on extending all other

deadlines.

       8.      That based on the new deadline of June 14, 2019 for expert reports,

Defense counsel requests new deadlines be established for review of discovery,

motion deadline, plea cutoff deadline, pretrial conference/plea hearing date, and

jury trial.

       WHEREFORE Defendant prays this Honorable Court grants relief as

follows:

       A.      That deadlines for discovery review, motion deadline, plea cutoff

deadline, pretrial conference/plea hearing date, and jury trial be extended/reset

accordingly;

       C.      That Defendant is awarded any other relief as may be agreeable to


                                      Page 2 of 3
Case 2:18-cr-20554-PDB-APP ECF No. 24 filed 05/17/19   PageID.74   Page 3 of 9



justice and good conscience.

                                   Respectfully submitted,



                                   s/ Gerry Mason
                                   GERRY MASON
                                   GERRY MASON LAW OFFICES PLLC
                                   Attorney for Defendant
                                   1700 Busha Hwy
                                   Marysville, Michigan 48040
                                   Tel.    (810) 989-0057
                                   Fax.    (810) 989-6107
                                   E-Mail: gdblues@yahoo.com
                                   P59065



                        CERTIFICATE OF SERVICE


      I hereby certify that on May 17, 2019, I electronically filed the
foregoing paper with the Clerk of the Court using the ECF system, which will
send notification of such filing to all counsel of record in this matter.

                                   s/ Gerry Mason
                                   GERRY MASON
                                   GERRY MASON LAW OFFICES PLLC
                                   Attorney for Defendant
                                   1700 Busha Hwy
                                   Marysville, Michigan 48040
                                   Tel.    (810) 989-0057
                                   Fax.    (810) 989-6107
                                   E-Mail: gdblues@yahoo.com
                                   P59065




                                 Page 3 of 3
Case 2:18-cr-20554-PDB-APP ECF No. 24 filed 05/17/19          PageID.75    Page 4 of 9




                      UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF MICHIGAN

UNITED STATES OF AMERICA,                      Case No. 2:18-cr-20554-PDB-APP
             Plaintiff,                        Hon.. District Judge Paul D. Borman
    -v-

JACKIE DOUGLAS WOODBURN
               Defendant(s).
__________________________________________/

                 DEFENDANT’S BRIEF IN SUPPORT OF
                MOTION TO AMEND SCHEDULING ORDER

Issues Presented

      That the scheduling deadlines were established based on an original due date

for expert’s reports of May 3, 2019. That deadline has been extended to June 14,

2019 and Defendant is requesting all other deadlines be amended accordingly.

Background

      After a discussion of the competency reports issued by the Bureau of Prisons

the defendant was declared competent to proceed in the case. Defense counsel

requested and was granted time to obtain a private evaluation as to criminal

responsibility that may be presented as a defense at trial. The Defendant placed a

waiver of his right to Speedy Trial on the record and in the interest of justice the

Court granted the requested continuance.

      The Court entered an Order Determining Excludable Delay setting forth


                                      Page 1 of 6
Case 2:18-cr-20554-PDB-APP ECF No. 24 filed 05/17/19        PageID.76    Page 5 of 9



deadlines for the expert report of May 3, 2019, with additional deadlines for review

of discovery, motion deadline, plea cutoff deadline, pretrial conference/plea

hearing date and jury trial date.

      Dr. Steven Miller and Carl Hagstrom, LMSW requested an extension to June

14, 2019 to file their expert report. In accordance with LR 7.1(a)(1) Defense

counsel obtained a concurrence on allowing an extension for expert reports with

Assistant U.S. Attorney April Nicole Russo and Kevin Mulcahy and a Stipulation

and Order To Allow Additional Time For Completion Of Expert Reports entered

May 10, 2019.

      Defense counsel did not obtain concurrence regarding a request for an

extension on deadlines and was advised that would need to be done by motion.

Defense counsel is requesting that all deadlines be reset accordingly based on the

new deadline of June 14, 2019 for expert reports.

Legal Authority

      A period of delay shall be excluded in computing the time within which an

information or an indictment must be filed, or in computing the time within which

the trial of any offense must commence for any period of delay resulting from

other proceedings concerning the defendant, including but not limited to a delay

resulting from any proceeding including any examinations, to determine the

competency or physical capacity of the defendant. 18 U.S.C. §3161(h)(1)(A).


                                     Page 2 of 6
Case 2:18-cr-20554-PDB-APP ECF No. 24 filed 05/17/19         PageID.77    Page 6 of 9



      The movant must ascertain whether the contemplated motion, or request

under Federal Rule of Civil Procedure 6(b)(1)(A), will be opposed. If the movant

obtains concurrence, the parties or other person involved may make the subject

matter of the contemplated motion or request a matter of record by stipulated

order. LR 7.1(a)(1).

      As the United States Supreme Court stated in Powell v. Alabama, 287 US

45; 53 S Ct 55; 77 L Ed 158; 84 ALR 527 (1932): “The prompt disposition of

criminal cases is to be commended and encouraged. But in reaching that result a

defendant, charged with a serious crime, must not be stripped of his right to have

sufficient time to advise with counsel and prepare his defense. To do that is not to

proceed promptly in the calm spirit of regulated justice but to go forward with the

haste of the mob.” “Thus the desire of the trial courts to expedite court dockets is

not a sufficient reason to deny an otherwise proper request for a continuance.”

People v. Charles O. Williams, 386 Mich. 565; 194 N.W.2d 337 (1972).

      In People v. Wilson, 397 Mich. 76; 243 N.W.2d 257 (1976) the Supreme

Court of Michigan stated “The precedential meaning of judicial discretion and

abuse of discretion appear in Spalding v. Spalding, 355 Mich 382; 94 NW2d 810

(1959).” The court then went on to explain:

       “We explained the Spalding test in the criminal case context in
      People v. Charles O Williams, 386 Mich 565; 194 NW2d 337 (1972).
      In that case, we reversed a conviction because the trial court refused
      to grant defendant’s counsel’s motion to withdraw made on the day of
                                     Page 3 of 6
Case 2:18-cr-20554-PDB-APP ECF No. 24 filed 05/17/19          PageID.78    Page 7 of 9



      trial, and also refused to grant a continuance. That matter had been
      adjourned four times previously, and the defendant and his lawyer
      reached an impasse on whether to call some of defendant’s witnesses.
      After quoting the language in Spalding we stated:

      “While the rule laid down in Spalding is generally the correct rule to
      apply, a somewhat stricter standard should be observed in criminal
      cases where loss of freedom by incarceration is often the penalty that
      a convicted defendant will summer.” 386 Mich at 573; 194 NW2d at
      340.

      After reviewing some of the Federal authorities dealing with the
      court’s discretion to grant continuances, we concluded: “[T]he desire
      of the trial courts to expedite court dockets is not a sufficient reason to
      deny an otherwise proper request for a continuance.” 386 Mich at
      577; 194 NW2d at 342.

      In reversing the trial court, we enumerated four factors we considered
      important in finding that the trial court had abused its discretion in
      that case in not granting defendant a continuance: 1) the defendant
      was asserting a constitutional right; 2) he had a legitimate reason for
      asserting the right; 3) he was not guilty of negligence; 4) prior
      adjournments of trial were not at the defendant’s behest.”

Conclusion

      In the present case the Court did grant Defendant time to obtain an

independent evaluation as to criminal responsibility. The medical

professionals were retained and met with the Defendant, and are in need of

additional time to complete their reports. The prosecution is in concurrence

with the request for a continuance on the deadline for expert reports, and

Defendant has waived his right to a speedy trial so that the evaluation could

be completed. The Court recognized that Defendant should not be stripped


                                      Page 4 of 6
Case 2:18-cr-20554-PDB-APP ECF No. 24 filed 05/17/19         PageID.79    Page 8 of 9



of his right to have the expert reports completed, especially given the

seriousness of the alleged crime and the expert’s evaluation regarding

Defendant’s criminal responsibility for the alleged crime and the deadline

for expert reports was extended to June 14, 2019. It is in the best interest of

justice that all other deadlines and hearing dates also be extended to allow

time to properly prepare for trial.

                                        Respectfully submitted,



                                        s/ Gerry Mason
                                        GERRY MASON
                                        GERRY MASON LAW OFFICES PLLC
                                        Attorney for Defendant
                                        1700 Busha Hwy
                                        Marysville, Michigan 48040
                                        Tel.    (810) 989-0057
                                        Fax.    (810) 989-6107
                                        E-Mail: gdblues@yahoo.com
                                        P59065




                                      Page 5 of 6
Case 2:18-cr-20554-PDB-APP ECF No. 24 filed 05/17/19   PageID.80   Page 9 of 9




                   UNITED STATES DISTRICT COURT
                   EASTERN DISTRICT OF MICHIGAN

UNITED STATES OF AMERICA,                 Case No. 2:18-cr-20554-PDB-APP
             Plaintiff,                   Hon. District Judge Paul D. Borman
    -v-

JACKIE DOUGLAS WOODBURN
               Defendant(s).
__________________________________________/


                      CERTIFICATE OF SERVICE

      I hereby certify that on May 17, 2019, I electronically filed the
foregoing paper with the Clerk of the Court using the ECF system, which will
send notification of such filing to all counsel of record in this matter.


                                   s/ Gerry Mason
                                   GERRY MASON
                                   GERRY MASON LAW OFFICES PLLC
                                   Attorney for Defendant
                                   1700 Busha Hwy
                                   Marysville, Michigan 48040
                                   Tel.    (810) 989-0057
                                   Fax.    (810) 989-6107
                                   E-Mail: gdblues@yahoo.com
                                   P59065




                                 Page 6 of 6
